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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Saul Ewing LLP, 1888 Century Park East, Suite 1500, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): Stipulation Between Morning Law Group P.C. and
Richard A. Marshack, Liquidation Trustee of The LPG Liquidating Trust to Extend Deadlines for Opposition and
Reply Re: Motion for Entry of Order Enforcing Agreement of Purchase and Sale and Joint Escrow Instruction,
and Compelling Morning Law Group, P.C. to Make Payment Thereunder and Related Relief [Doc. No. 2363] be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 9, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

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        ayshalewis@dwt.com;kimberlysimmonsgreene@dwt.com;ryanrubio@dwt.com
    •   Kyra E Andrassy kandrassy@raineslaw.com, bclark@raineslaw.com;jfisher@raineslaw.com
    •   Bradford Barnhardt bbarnhardt@marshackhays.com,
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    •   Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
    •   Michael Jay Berger michael.berger@bankruptcypower.com,
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    •   Ethan J Birnberg birnberg@portersimon.com, bokinskie@portersimon.com
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    •   Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ________, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 9, 2025                  Hannah Richmond                                                 /s/ Hannah Richmond
 Date                                Printed Name                                               Signature

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